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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

UNITED STATES OF AMERICA,

      -v-                                              00-CR-269

JAMES THOMAS,

                Defendant.
_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge



                                   DECISION & ORDER

      Defendant was convicted upon his guilty plea of a violation 21 U.S.C. §§ 841(a) &

846. At the time of sentencing, the Court found Defendant to have a base offense level of

31, criminal history category of III, resulting in a presumptive United States Sentencing

Guidelines (“Guidelines” or “U.S.S.G.”) range of 155-188 months incarceration. Defendant

was, however, subjected to a twenty year mandatory minimum sentence pursuant to 21

U.S.C. § 841(b). The government moved for a downward departure pursuant to 18 U.S.C.

§ 3553(e) and U.S.S.G. § 5K1.1 based on defendant’s substantial assistance. The Court

granted the motion and imposed a sentence of 110 months incarceration.

      Defendant now moves for a reduction of his sentence pursuant to 18 U.S.C. §

3582(c)(2) and United States Sentencing Guidelines (“Guidelines” or “U.S.S.G.”) §

1B1.10, in light of Amendment 706 to the Guidelines reducing the base offense level listed

on the drug quantity table for most cocaine base (crack cocaine) offenses. See U.S.S.G.


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§ 2D1.1(c); Def. Motion (dkt. # 815). For the reasons set forth below, the motion is

denied.

      The applicable statute providing authority for the Court to re-sentence a defendant

in these circumstances is 18 U.S.C. § 3582(c)(2). This provides:

      [I]n the case of a defendant who has been sentenced to a term of
      imprisonment based on a sentencing range that has subsequently been
      lowered by the Sentencing Commission pursuant to 28 U.S.C. § 994(o),
      upon motion of the defendant or the Director of the Bureau of Prisons, or on
      its own motion, the court may reduce the term of imprisonment, after
      considering the factors set forth in section 3553(a) to the extent that they are
      applicable, if such a reduction is consistent with applicable policy
      statements issued by the Sentencing Commission.

18 U.S.C. § 3582(c)(2)(emphasis added).

      The applicable policy statement issued by the Sentencing Commission is U.S.S.G.

§1B1.10 (“Reduction in Term of Imprisonment as a Result of Amended Guideline Range

(Policy Statement)”). This provides in pertinent part:


      (a) Authority. -

             ***

             (2) Exclusions. - A reduction in the defendant’s term of
             imprisonment is not consistent with this policy statement and
             therefore is not authorized under 18 U.S.C. § 3582(c)(2) if—

             ***

                     (B) [the crack cocaine sentence reduction
                     amendment] does not have the effect of lowering
                     the defendant’s applicable guideline range.

             (3) Limitation.—Consistent with subsection (b), proceedings
             under 18 U.S.C. § 3582(c)(2) and this policy statement do not
             constitute a full resentencing of the defendant.



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U.S.S.G. § 1B1.10(a)(2)-(3).

      Where a particular case involves a statutory mandatory minimum sentence that

exceeds the applicable Guidelines range, the Court must set the Guidelines sentence at

the statutorily required minimum. U.S.S.G. § 5G1.1(b); see United States v. Johnson, —

F.3d —. —, 2008 WL 516518, at *4 (8th Cir. Feb. 28, 2008). Thus, when a defendant has

a Guidelines range below the mandatory minimum before applying U.S.S.G. § 5G1.1(b),

the Guidelines sentence becomes the statutory mandatory minimum. See U.S.S.G. §

5G1.1(b)(“Where a statutorily required minimum sentence is greater than the maximum of

the applicable guideline range, the statutorily required minimum sentence shall be the

guideline sentence.”)(emphasis added); see also Johnson, 2008 WL 516518, at *4.

      The retroactive crack cocaine sentencing amendment, which affects only the

Guidelines sentence (not the statutory sentence), offers Defendant no help. Johnson,

2008 WL 516518, at *4. The Guidelines sentence - either before or after application of the

crack cocaine sentencing amendment - is still the statutory mandatory minimum.

Inasmuch as the Guidelines sentence would not be changed by the retroactive crack

sentencing amendment, the exclusion set forth at U.S.S.G. § 1B1.10(a)(2)(B) (“[the crack

cocaine sentencing reduction amendment] does not have the effect of lowering the

defendant’s applicable guideline range”) applies. Johnson, 2008 WL 516518, at *4.

Accordingly, “[a] reduction in the defendant’s term of imprisonment is not consistent with

[the applicable] policy statement and therefore is not authorized under 18 U.S.C. §

3582(c)(2).” U.S.S.G. § 1B1.10(a)(2)(emphasis added); see also Johnson, 2008 WL

516518, at *4.



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       While the statutory mandatory minimum was excused in this case because a

government motion was made under 18 U.S.C. § 3553(e) and U.S.S.G. 5K1.1, the

ultimate sentence was not a Guidelines sentence, but rather a statutory sentence

authorized by 18 U.S.C. § 3553(e). See 18 U.S.C. § 3553(e) (“Upon motion of the

Government, the court shall have the authority to impose a sentence below a level

established by statute as a minimum sentence so as to reflect a defendant's substantial

assistance in the investigation or prosecution of another person who has committed an

offense.”). While the sentence “shall be imposed in accordance with the guidelines and

policy statements issued by the Sentencing Commission,” id. (emphasis added), the

Guidelines sentence is set at the statutory mandatory minimum by operation of U.S.S.G. §

5G1.1(b). See United States v. Richardson, 2008 WL 398969, at* 9 (2d Cir. Feb. 15,

2008)(in such circumstances “the Guidelines sentence ends up as the statutory

minimum”)(emphasis added); see also id. at * 8 (even though a U.S.S.G. § 5k1.1 motion

allows a departure below the U.S.S.G. guideline range, such a motion “is, as a practical

matter, superfluous [in these circumstances] [because] . . . it does not, in and of itself,

authorize a district court to depart below a statutory minimum.”)(citation omitted). Thus,

even in these circumstances, the retroactive crack cocaine sentencing amendment, which

affects only the Guidelines sentence, offers the defendant no help.

       Further, as the Second Circuit recently stated:

       When, as here, the Guidelines sentence ends up as the statutory minimum,
       any reduction may be based only on substantial assistance to the
       government and on no other mitigating considerations. See18 U.S.C. §
       3553(e) (providing “defendant's substantial assistance in the investigation or
       prosecution of another person who has committed an offense” as singular
       ground for departing below statutory minimum); see also United States v.


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       Desselle, 450 F.3d 179, 182 (5th Cir.2006), cert. denied,127 S. Ct. 1148
       (Jan. 22, 2007) (“We ... join the majority of circuits in holding that the extent
       of a ... § 3553(e) departure must be based solely on assistance-related
       concerns.”); United States v. Williams, 474 F.3d 1130, 1130-31 (8th
       Cir.2007) (“Where a court has authority to sentence below a statutory
       minimum only by virtue of a government motion under § 3553(e), the
       reduction below the statutory minimum must be based exclusively on
       assistance-related considerations.”); United States v. Auld, 321 F.3d 861,
       867 (9th Cir.2003) (“[I]n fixing a substantial assistance departure. . . [t]he
       district court may not, however, consider factors unrelated to the defendant's
       assistance.”).

United States v. Richardson, 2008 WL 398969, at * 9 (2d Cir. Feb. 15, 2008)(emphasis

added); see also id. at * 7 - *8 (consideration under a U.S.S.G. § 5k1.1 motion is likewise

limited to the circumstances of a defendant’s assistance); Johnson, 2008 WL 516518, at

*3 (“In reducing a sentence below the statutory minimum under 18 U.S.C. § 3553(e) for a

defendant's substantial assistance, a court may only consider factors related to that

assistance and may not use the factors in 18 U.S.C. § 3553(a) to decrease the sentence

further.”).

       Because the Court has already fully considered Defendant’s cooperation in setting

his sentence, and because the Court is limited to considering only cooperation in moving

below the statutory mandatory minimum, the crack cocaine sentencing amendment is

also, “as a practical matter, superfluous.”

       While it could be argued that under Booker and Kimbrough a whole new range of

possibilities exist to fashion a sentence based on the crack cocaine to cocaine disparity

found in the Guidelines, the argument is rejected. See United States v. Booker, 543 U.S.

220, 261 (2005); Kimbrough v. United States, - - U.S. - -, 128 S. Ct. 558 (2007). First,

neither Booker or Kimbrough have been held to apply retroactively. Second, the



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applicable policy statement provides that “proceedings under 18 U.S.C. § 3582(c)(2) and

this policy statement do not constitute a full resentencing of the defendant.” Third, since

the retroactive crack cocaine sentencing amendment is not applicable (for the reasons

discussed), 18 U.S.C. § 3582(c)(2) does not apply and, accordingly, there is no basis to

revisit Defendant’s sentence.

      It is therefore

      ORDERED that Defendant's motion to reduce his sentence (dkt. # 815) is DENIED.



IT IS SO ORDERED

DATED:March 1, 2008




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